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 PEARSON, MJ.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )     CASE NO. 5:09CR157-4
                Plaintiff,                         )
                                                   )     JUGE PETER C. ECONOMUS
        v.                                         )
                                                   )     MAGISTRATE JUDGE
 MARCUS ID-DEEN,                                   )     BENITA Y. PEARSON
                                                   )
                Defendant.                         )     REPORT AND RECOMMENDATION



        Pursuant to General Order 99-49, this matter having been referred to United States

 Magistrate Judge Benita Y. Pearson for purposes for receiving, on consent of the parties, the

 defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

 causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate, for

 presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation stating

 whether the plea should be accepted and a finding of guilty entered, the following, along with the

 transcript or other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

 Report and Recommendation concerning the plea of guilty proffered by the defendant.



        1.      On July 14, 2009, the defendant, accompanied by counsel, proffered a plea of guilty

                to Count One of the indictment.1




 1
  The Government anticipates dismissing Counts Four and Five at sentencing.
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 (1:09cr270)

       2.      Prior to such proffer, the defendant was examined as to his competency, advised of

               the charge and consequences of conviction, informed that the Court will be required

               to give consideration to the Federal Sentencing Guidelines and of the possibility of

               a departure from the Guidelines, notified of his rights, advised that he was waiving

               all his rights except the right to counsel, and, if such were the case, his right to appeal

               under certain circumstances, and otherwise provided with the information prescribed

               in Fed. R. Crim. P. 11.



       3.      The parties and counsel informed the Court about any plea agreement between the

               parties, the undersigned was advised that, aside from any such agreement as

               described or submitted to the Court, no other commitments or promises have been

               made by any party, and no other agreements, written or unwritten, have been made

               between the parties.



       4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

               and voluntary nature of the plea of guilty, and finds that the defendant’s pleas were

               offered knowingly, intelligently, and voluntarily.



       5.      The parties provided the undersigned with sufficient information about the charged

               offense and the defendant’s conduct to establish a factual basis for the plea.




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 (1:09cr270)

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

 defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

 United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

 recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.




  July 14, 2009                                s/Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States Magistrate Judge



        Objections to this Report and Recommendation must be filed with the Clerk of Court within

 ten (10) days of receipt of this notice. Failure to file objections within the specified time WAIVES

 the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters, 638 F.2d

 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).




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